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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                     CIVIL MINUTES – GENERAL

 Case No.    LA CV21-07335 JAK (JCx)                                          Date        November 10, 2021
 Title       Nico Trinkhaus v. Premier World Tours LLC




 Present: The Honorable           JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                   T. Jackson                                              Not Reported
                  Deputy Clerk                                     Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                    Not Present                                             Not Present


 Proceedings:           (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK
                        OF PROSECUTION RE PREMIER WORLD TOURS LLC

The Court, on its own motion, orders Plaintiff to show cause in writing no later than November 17, 2021
why this action should not be dismissed for lack of prosecution regarding overdue responses, as to
Premier World Tours LLC. Pursuant to Rule 55 of the Federal Rules of Civil Procedure, Plaintiff shall
file an application requesting the entry of default. Plaintiff is advised that the Court will consider the
filing of an application, which complies with the federal rules, on or before the date upon which the
response is due, as a satisfactory response to the Order to Show Cause. The Order to Show Cause will
stand submitted upon the filing of an appropriate response. No oral argument will be heard unless
otherwise ordered by the Court. Failure to respond will result in the dismissal of this matter.


IT IS SO ORDERED.




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                                                           Initials of Preparer      TJ




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